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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

VOIP-PAL.COM, INC.                                §
     Plaintiff,                                   §
                                                  §
v.                                                §
                                                  §       Civil No. 6:21-cv-00668-ADA
AMAZON.COM, INC.,                                 §
AMAZON.COM SERVICES LLC, and                      §
AMAZON WEB SERVICES, INC.                         §
    Defendants.                                   §

                                 ORDER COMPELLING DISCOVERY

            Plaintiff VoIP-Pal.com, Inc. emailed the Court to compel the deposition of Mr. Prasad

     because he filed a new declaration containing new facts in support of Amazon’s Renewed Motion

     for Reconsideration of Transfer. The Amazon Defendants oppose this relief on grounds of

     relevance and timeliness.

            The Court finds that Plaintiff should be given an opportunity to cross-examine the

     declarant.

            IT IS HEREBY ORDERED that VoIP-Pal’s Request to compel Amazon to produce Mr.

     Vinod Prasad for a deposition on his Second Supplemental Declaration is GRANTED. Amazon

     shall produce Mr. Prasad for deposition within 14 days of this Order. The deadline for VoIP-Pal’s

     response to Amazon’s Renewed Motion for Reconsideration shall be extended until 14 days after

     the completion of the deposition.

            SIGNED this 2nd day of September, 2022.




                                                 ALAN D ALBRIGHT
                                                 UNITED STATES DISTRICT JUDGE


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